 Case:18-05288-EAG11 Doc#:159 Filed:03/28/19 Entered:03/28/19 15:49:27            Desc: Main
                             Document Page 1 of 1


 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                              THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                    CASE NO. 18-05288-EAG11
 4    SKYTEC INC                               Chapter 11

 5

 6
     XX-XXXXXXX
 7
                     Debtor                       FILED & ENTERED ON MAR/28/2019
 8

 9
                    NOTICE TO ALL CREDITORS AND PARTIES IN INTEREST
10
           Upon the order entered on March 28, 2019    (docket   entry   #158),    please
11
     take notice that the instant case has been reassigned to the Honorable Edward
12
     A. Godoy, U.S. Bankruptcy Judge.
13
           In Ponce, Puerto Rico, this 28 day of March, 2019.
14

15
                                         MARIA DE LOS ANGELES GONZALEZ, ESQ.
16
                                                 Clerk of the Court
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                                         By:    Milagros Irizarry, Deputy Clerk
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